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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7    USA,                                                Case No.22-mj-70339-MAG-1
                                                       Plaintiff,
                                   8
                                                                                            Charging District's Case No.
                                                v.
                                   9
                                                                                            22-MJ-16
                                  10    GRANT MCKAY DURTSCHI,
                                                       Defendant.
                                  11

                                  12                                COMMITMENT TO ANOTHER DISTRICT
Northern District of California
 United States District Court




                                  13           The defendant has been ordered to appear in the Middle District of Louisiana. The

                                  14   defendant is requesting court-appointed counsel. The defendant remains in custody after the initial

                                  15   appearance.

                                  16           IT IS ORDERED: The United States Marshal must transport the defendant, together with

                                  17   a copy of this order, to the charging district and deliver the defendant to the United States Marshal

                                  18   for that district, or to another officer authorized to receive the defendant. The Marshal or officer

                                  19   of the charging district should immediately notify the United States Attorney and the Clerk for that

                                  20   district of the defendant's arrival so that further proceedings may be promptly scheduled. The

                                  21   Clerk of this district must promptly transmit the papers and any bail to the charging district.

                                  22   Dated: March 23, 2022
                                                                                        ______________________________________
                                  23                                                    Laurel Beeler
                                                                                        United States Magistrate Judge
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